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               UNITED STATES COURT OF INTERNATIONAL TRADE
          BEFORE THE HONORABLE STEPHEN ALEXANDER VADEN, JUDGE


ASIA WHEEL CO., LTD.,
                           Plaintiff,
                     and
TRAILSTAR LLC, LIONSHEAD
SPECIALTY TIRE AND WHEEL LLC,
                           Consolidated Plaintiffs,
                     and
                                                       Consol. Court No. 23-00096
TEXTRAIL, INC.,
                           Plaintiff-Intervenor,
                     v.
UNITED STATES,
                           Defendant,
                     and
DEXSTAR WHEEL DIVISION OF
AMERICANA DEVELOPMENT, INC.,
           Defendant-Intervenor.


      AMENDED PLAINTIFF’S, CONSOLIDATED PLAINTIFFS’, AND PLAINTIFF-
     INTERVENOR’S MOTION FOR JUDGMENT ON THE AGENCY RECORD AND
        ACCOMPANYING MEMORANDUM OF POINTS AND AUTHORITIES

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November 20, 2023




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          On behalf of Plaintiff Asia Wheel Co., Ltd. (“Asia Wheel”); Consolidated Plaintiffs

TRAILSTAR LLC (“TRAILSTAR”) and Lionshead Specialty Tire and Wheel LLC

(“Lionshead”), and Plaintiff-Intervenor TexTrail, Inc. (“TexTrail”)1 (collectively, the

“Importers”); we hereby submit this Motion for Judgment on the Agency Record and

Accompanying Memorandum of Points and Authorities with regard to the four Counts set forth

in the Complaints filed on June 8, 2023, and June 9, 2023. See Complaint, Ct. No. 23-00096,

ECF No. 11; Complaint, Ct. No. 23-00097, ECF No. 9; Complaint, Ct. No. 23-00098, ECF No.

14; Complaint, Ct. No. 23-00099, ECF No. 9. For the reasons provided below, Asia Wheel and

the Importers respectfully request that the Court hold that the challenged determination of the

U.S. Department of Commerce (“Commerce”) is unsupported by substantial evidence and

otherwise not in accordance with law.

                     RULE 56.2 STATEMENT AND SUMMARY OF ARGUMENT

          ADMINISTRATIVE DETERMINATION OF WHICH REVIEW IS SOUGHT

          Asia Wheel and the Importers seek review of Commerce’s final scope ruling that certain

trailer wheels produced by Asia Wheel in Thailand fall within the scope of the antidumping duty

(“AD”) and countervailing duty (“CVD”) orders on certain steel trailer wheels 12 to 16.5 inches

in diameter (“trailer wheels”) from the People’s Republic of China (“China”). See Commerce

Memorandum, RE: Final Scope Ruling: Asia Wheel’s Steel Wheels Processed in Thailand (Asia

Wheel) (A-570-090, C-570-091) (Apr. 11, 2023) (“Final Scope Ruling”), Appx2782-2853;2

Certain Steel Trailer Wheels 12 to 16.5 Inches from the People’s Republic of China, 84 Fed.

Reg. 45952 (Dep’t Commerce Sept. 3, 2019) (“AD/CVD Orders”).


1
    TexTrail is also a Consolidated Plaintiff.
2
  For documents in the administrative record with both confidential and public versions, we cite
the joint appendix page(s) for the business proprietary version.



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          ISSUES PRESENTED AND SUMMARY OF THE ARGUMENT

          This memorandum addresses four issues with respect to Commerce’s Final Scope Ruling.

          A.         Whether Commerce Impermissibly Expanded the Scope of the AD/CVD
                     Orders Contrary to the Orders’ Plain Language and Commerce’s
                     Interpretation of that Language in the Original AD/CVD Investigations

          Yes. While Commerce has the authority to clarify the scope of an AD/CVD order, it is

impermissible for Commerce to interpret an order contrary to its terms or the primary

interpretive sources listed in 19 C.F.R. § 351.225(k)(1). Here, in concluding that the scope of the

AD/CVD Orders was ambiguous with respect to coverage of wheels made in third countries with

rims or discs – the two essential components of a wheel – from China, Commerce impermissibly

disregarded the plain scope language’s use of “rims and discs from China.”            In addition,

Commerce unreasonably denied that during the original AD/CVD investigations it had

confirmed in response to a specific request from importers that “the existing {scope} language

sufficiently conveys the concept that third-country processing of a steel wheel must be of rims

and discs produced in China and agree, generally, with the respondent/importer’s understanding

of this language . . . .” (Emphasis added.)

          B.         Whether Commerce’s Determination that Chinese-Origin Wheel
                     Components Were Not Substantially Transformed into Wheels in Thailand
                     Is Unsupported by Substantial Evidence and Not in Accordance with Law

          Yes. In finding that Chinese-origin wheel components (discs) were not “substantially

transformed” into finished wheels in Thailand, Commerce ignored the fundamental question of

whether the processing in Thailand resulted in a product with a new name, character, and use,

contrary to binding case law.        In addition, despite undisputed evidence submitted by the

petitioner that a wheel requires two essential components – a rim and a disc – to achieve the

characteristics and function of a finished wheel, Commerce nonsensically reasoned that the




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Chinese-origin disc alone already exhibited the essential characteristics of a finished wheel,

contrary to the substantial evidence standard.

          C.         Whether Commerce’s Decision to Impose AD/CVD Liability on the Entire
                     Imported Trailer Wheel – As Opposed to Only the Subject Merchandise
                     Incorporated in the Wheel – Is Unsupported by Substantial Evidence and
                     Otherwise Not in Accordance with Law

          Yes. Although only one wheel component (a disc) was exported from China, Commerce

determined that the entire finished wheel imported into the United States was subject to

AD/CVD liability. In doing so, Commerce impermissibly expanded the scope of the AD/CVD

Orders – which is limited to Chinese-origin “rims, discs, and wheels that have been further

processed in a third country” – contrary to its terms.         In addition, Commerce’s decision

contradicted its substantial transformation analysis, rendering its decision unsupported by

substantial evidence.         Because Commerce determined that Chinese-origin discs were not

substantially transformed in Thailand, Commerce lacked any factual basis to impose AD/CVD

liability on the nonsubject parts of the wheel added in Thailand.

          D.         Whether Commerce Impermissibly Directed U.S. Customs and Border
                     Protection to Continue to Suspend Liquidation of Imports Entered before
                     the Date of Initiation of the Scope Inquiry

          Yes.       The importers lacked adequate notice that the trailer wheels manufactured in

Thailand with rims or discs (but not both) from China were covered by the AD/CVD Orders on

China until March 22, 2021, the date on which Commerce initiated a scope inquiry to address the

question for those wheels.          Nevertheless, Commerce unlawfully declined to instruct U.S.

Customs and Border Protection (“CBP” or “Customs”) to terminate a prior suspension of

liquidation imposed by CBP under the Enforce and Protect Act prior to that date. Commerce’s

decision violated the broader due-process principle that importers must have fair warning before

their imported merchandise is subject to AD/CVD liability. In this case, Commerce’s unlawful



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decision will subject the Importers to millions of dollars in retroactive AD/CVD liability without

fair warning because the combined AD/CVD rate exceeds 400%.

                                   STATEMENT OF FACTS

          COMMERCE’S DEFINITION OF THE SCOPE IN THE ORIGINAL AD/CVD
          INVESTIGATIONS

          On August 28, 2018, Commerce initiated AD and CVD investigations of trailer wheels

from China in response to petitions filed by Dexstar Wheel Division of Americana Development,

Inc. (“Dexstar” or “Petitioner”) on August 8, 2018. Certain Steel Wheels 12 to 16.5 Inches in

Diameter from the People’s Republic of China, 83 Fed. Reg. 45095 (Dept. Commerce Sept. 5,

2018) (“AD Initiation”); Certain Steel Wheels 12 to 16.5 Inches in Diameter from the People’s

Republic of China, 83 Fed. Reg. 45100 (Dep’t Commerce Sept. 5, 2018) (“CVD Initiation”).

          A trailer wheel consists of two main components: a rim and a disc. “The rim comprises

the perimeter of the wheel and supports the tire when it is attached to the disc{,} while the disc

serves as the center portion of the wheel within the rim.”        Asia Wheel Response to 2nd

Supplemental Questionnaire (A-570-090, C-570-091) (Aug. 30, 2021) (“Asia Wheel Substantial

Transformation Submission”) at Exhibit RFI-ALL-4 (Petition, Vol. I at I-10), Appx80942. As

Dexstar acknowledged, both the rim and disc are essential components of the finished trailer

wheel.        See id. at Exhibit RFI-ALL-3 (Petitioner Letter, RE: Petitioner’s Request for

Clarification of Country of Origin Criteria (A-570-090, C-570-091) (Mar. 1, 2019) at 8-9),

Appx80938-80939; Final Scope Ruling at 29, Appx2810 (“the rim and the disc are the essential

components of the wheel”). The image below depicts the disc, rim, and complete trailer wheel

(before the painting/coating process):




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 (Letter from White & Case to Commerce, RE: Request for Scope Ruling for Asia Wheel’s Steel
  Trailer Wheels (A-570-090, C-570-091) (Nov. 10, 2020) (“Asia Wheel Scope Ruling Request”)
                                  at Exhibit 4, Appx80063)

The scope of the AD/CVD investigations included steel wheels, rims, and discs imported from

China. See Asia Wheel Scope Ruling Request at Exhibit 2 (Commerce Memorandum, RE:

Preliminary Scope Decision Memorandum (A-570-090, C-570-091) (Apr. 15, 2019) at 1

(“Prelim. INV Scope Memo”)), Appx80028.

          A.         Proposed Scope upon Initiation of the AD/CVD Investigations

          At the time of initiation in August 2018, the proposed scope of the AD/CVD

investigations did not include language covering trailer wheels, rims, or discs from China that

undergo further processing in a third country. See AD Initiation, 83 Fed. Reg. at 45100; CVD

Initiation, 83 Fed. Reg. at 45104; Prelim. INV Scope Memo at 1-2, Appx80028-80029. Nor did

the scope include any such language in the preliminary CVD determination issued by Commerce

in February 2019. See Certain Steel Wheels 12 to 16.5 Inches in Diameter from the People’s

Republic of China, 84 Fed. Reg. 5989, 5991 (Dep’t Commerce Feb. 25, 2019) (prelim. CVD

determ.). Later in March 2019, however, Dexstar proposed amending the scope to include the

following “third-country-processing” provision:

          The scope includes rims, discs, and wheels that have been further processed in a
          third country, including, but not limited to, the welding and painting of rims and
          discs to form a steel wheel, or any other processing that would not otherwise


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          remove the merchandise from the scope of the investigations if performed in the
          People’s Republic of China.

See Prelim. INV Scope Memo at 7 (emphasis added); Appx80032.

          In response, Zhejiang Jingu Company Limited (“Zhejiang Jingu”), a Chinese mandatory

respondent in the AD/CVD investigations and an affiliate of Asia Wheel, argued that Chinese-

origin rims and discs that are welded and painted in third countries should be considered outside

the scope – as wheel components that are “substantially transformed” into finished wheels in the

third country, such that the third country is the country of origin, not China. See Prelim. INV

Scope Memo at 7, Appx80032. In the alternative, Zhejiang Jingu argued that Dexstar’s proposed

third-country-processing provision should be amended “to require that the rim and disc both be

of Chinese origin.” Id., Appx80032. Likewise, Tredit Tire & Wheel Co., Inc. (“Tredit”), an

importer, argued that:

          {T}he limitation to rims and discs produced in China should be made explicit,
          rather than stated ambiguously as in the petitioner’s current proposed scope
          language, to make clear the petitioner’s intent that the scope covers . . . rims and
          discs produced in China that are welded and painted in a third country.

Id. at 8, Appx80033.

          B.         Commerce’s Preliminary        Scope    Determination      in    the   AD/CVD
                     Investigations

          In the preliminary scope determination, issued after the preliminary CVD determination

and simultaneously with the preliminary AD determination, Commerce declined to conduct a

substantial transformation analysis to determine the country of origin for Chinese-origin rims and

discs that are welded and painted in a third country to make a finished steel wheel. See Prelim.

INV Scope Memo at 9, Appx80034. Commerce noted that it “has incorporated such third-

country processing language in other recent investigation scopes without conducting a

substantial transformation analysis.” Id., Appx80034.



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          At the same time, however, Commerce “agree{d} with Zhejiang Jingu and Tredit that the

proposed scope amendment should include further clarifying language.” Prelim. INV Scope

Memo at 10, Appx80035. Based on its understanding that Dexstar was “requesting that rims and

discs from China that have been further processed in a third country into finished steel wheels be

included within scope{,}” Commerce “clarified the petitioner’s proposed scope language to

reflect the petitioner’s intention.”       Id. at 10-11 (emphasis added), Appx80035-80036.

Specifically, Commerce added the qualifier “from China” to Dexstar’s proposed third-country-

processing provision, as follows:

          The scope includes rims, discs, and wheels that have been further processed in a
          third country, including, but not limited to, the painting of wheels from China and
          the welding and painting of rims and discs from China to form a steel wheel, or
          any other processing that would not otherwise remove the merchandise from the
          scope of the investigations if performed in China.

Id. at 8, 13 (emphasis added), Appx80033, Appx80038. This amended scope language was

included in the preliminary AD determination issued by Commerce in April 2019. Certain Steel

Wheels 12 to 16.5 Inches in Diameter from the People’s Republic of China, 84 Fed. Reg. 16643,

16646 (Dep’t Commerce Apr. 22, 2019) (prelim. AD determ.) (“Preliminary AD

Determination”).

          C.         Commerce’s Final Scope Determination in the AD/CVD Investigations

          Commenting on Commerce’s preliminary scope determination in case briefs, two U.S.

importers, Trans Texas Tire, LLC (“Trans Texas”) and HiSpec Wheel & Tire, Inc. (“HiSpec”),

asserted that:

          The plain meaning and the intent of {the third-country-processing} language is to
          include only steel wheels assembled in a third country when both the rims and
          discs originate from China; in contrast, steel wheels assembled in a third country
          when either the rims or discs do not originate from China would not be within
          scope (i.e., the Chinese rim or disc would no longer be considered scope
          merchandise).



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Asia Wheel Scope Ruling Request at Exhibit 3 (excerpts from Trans Texas’s and HiSpec’s case

briefs), Appx80051, Appx80055. Trans Texas and HiSpec also noted, however, that “the plain

meaning of this scope and the scope’s clear intent . . . potentially may be undermined by the

phrase ‘including but not limited to’ in the Preliminary AD Determination scope.” Id. (emphases

in original), Appx80052, Appx80056. To address this concern, both importers asked Commerce

to confirm in the final determination “that wheels comprised of rims or discs from China that are

assembled in a third country with rims or discs from third countries are not within scope.” Id.,

Appx80052, Appx80056. They reasoned that “{c}larifying the scope language to make this

clear – ideally written into the scope itself, beyond clarification in the Issues and Decision

Memorandum – would inform the importing community as well as {CBP}, to avoid any

confusion upon entry.” Id., Appx80052, Appx80056. In its rebuttal brief, Zhejiang Jingu

“agree{d} with {Trans Texas} and Hi-Spec that the amended scope language only covers third

country processing if both the ‘rims and discs’ are from China.” Id. at Exhibit 3 (excerpt from

Zhejiang Jingu’s rebuttal brief) (emphasis in original), Appx80045.

          In response, Commerce concluded that such clarifying language was unnecessary, stating

at the beginning of its final scope determination that “the existing language sufficiently conveys

the concept that third-country processing of a steel wheel must be of rims and discs produced in

China” for the imported merchandise to be within scope.” Asia Wheel Scope Ruling Request at

Exhibit 1 (Commerce Memorandum, RE: Final Scope Decision Memorandum (A-570-090, C-

570-091) (July 1, 2019)) at 22-23 (“Final INV Scope Memo”) (emphasis added), Appx80020-

80021. Commerce reiterated this position at the conclusion of its analysis, stating:

          Furthermore, as we find that the existing language sufficiently conveys the
          concept that third-country processing of a steel wheel must be of rims and discs
          produced in China and agree, generally, with the respondent/importer’s
          understanding of this language, we do not find it necessary to adopt further



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          clarification language proposed in the respondent/importer’s affirmative scope
          comments.

Id. at 24 (emphasis added), Appx80022.

          Commerce also rejected Dexstar’s argument – advanced for the first time in its scope

rebuttal brief – that the scope should be modified further to include trailer wheels assembled in a

third country from rims “or” discs from China. Commerce explained:

          The Petitioner now contends . . . that either a rim or a disc from China would be
          covered by these investigations, not only a rim and a disc together. However, no
          such intent is obvious on the record. Indeed, the entirety of the petitioner’s initial
          request for the relevant clarification plainly discussed the processing involved in
          assembly and/or coating/painting/galvanizing of the finished wheel from all
          necessary constituent parts (i.e., both the rim and disc). Thus, Commerce
          understood this clarification to address exactly the circumstance that was
          explicitly presented, the assembly (and surface finishing) of steel wheels in a third
          country from all constituent parts produced in China, and no such consideration of
          individual constituent parts was implicit in the clarification but, rather, was
          presented for the first time in the rebuttal stage of this proceeding where the
          petitioner argues for a modification of the scope that uses the word “or” instead of
          “and.”

Final INV Scope Memo at 23-24 (emphasis added), Appx80021-80022.

          Commerce issued the AD/CVD Orders on September 3, 2019, using the Preliminary AD

Determination scope language, and setting a combined AD/CVD cash deposit rate in excess of

400%. 84 Fed. Reg. at 45953-54.

          INITIATION OF ENFORCE AND PROTECT ACT INVESTIGATION

          Dexstar filed an allegation with CBP on March 19, 2020, pursuant to the Enforce and

Protect Act of 2015, Pub. L. 114-125, 130 Stat. 122, 155, Feb. 24, 2016 (“EAPA”), and CBP

initiated an EAPA investigation (EAPA Case No. 7549) on July 15, 2020. See Letter from

Schagrin Associates to Commerce (Dec. 8, 2020) (“Dexstar Opposition”) at Exhibit 2 (CBP,

Notice of Initiation of Investigation and Interim Measures (July 15, 2020) (“CBP Initiation”)),

Appx80111. Dexstar alleged that the Importers were evading the AD/CVD Orders because their



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imported wheels “were reportedly from the Chinese wheel producer, Jingu . . . and transshipped

through Asia Wheel . . . , Jingu’s affiliate in Thailand.” Id. at 2-3 (emphasis added),

Appx80112-80113. Dexstar did not allege that the Importers evaded the AD/CVD Orders by

importing wheels produced in Thailand with only one Chinese-origin wheel component; nor did

CBP initiate its EAPA investigation on that basis. See id. at 1-9, Appx80111-80119. As

“interim measures,” CBP suspended liquidation of the Importers’ imports of trailer wheels from

Asia Wheel with entry dates from April 9, 2020, and extended the liquidation period for each

unliquidated entry that entered before that date – retroactively subjecting their imports to AD and

CVD liability in excess of 400% of the value of the imported merchandise. Id. at 8, Appx80118;

AD/CVD Orders, 84 Fed. Reg. at 45954.

          The Importers and Asia Wheel first received notice of the EAPA investigation in July

2020, and each fully cooperated with CBP in the investigation. See CBP Initiation at 1-6,

Appx80111-80116; Dexstar Opposition at Exhibit 3 (TRAILSTAR’s Response to CBP’s

Request for Information (Sept. 18, 2020) (“TRAILSTAR EAPA Response”)), Appx80130-

80138. The Importers emphasized their reliance on Commerce’s Final INV Scope Memo, efforts

to achieve compliance therewith, and/or resource constraints:

         TexTrail, before placing purchase orders, had one of its engineers conduct a site

          inspection of Asia Wheel in April 2019, and commissioned an industry expert to do so in

          December 2019. See Importers’ Response to Request for Information (Aug. 30, 2021) at

          1-9 (“Importers’ RFI”), Appx80435-80443. These inspections were well-documented

          with photographs and findings from the expert confirming production in Thailand. See

          id. at 8-9, Exhibits 2-3, Appx80442-80443, Appx80480-80509.




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         Lionshead, likewise, had its owner and an employee conduct and document a site

          inspection of Asia Wheel in May 2019. See id. at 8-9, Exhibit 4, Appx80442-80443,

          Appx80510-80514.

         “TRAILSTAR is essentially a one-man company run by its Owner/ Founder/ CEO, Les

          Arnold. . . . Mr. Arnold founded TRAILSTAR in November 1995. He has since that

          time virtually single-handedly run the business by personally undertaking purchasing,

          selling, accounting, and marketing activities. . . . {I}t very much remains a one-man

          enterprise.” TRAILSTAR EAPA Response at 2, Appx80132.

          On December 17, 2020, CBP issued a “covered merchandise referral” to Commerce

under 19 U.S.C. § 1517(b)(4), because CBP was unable to determine whether the trailer wheels

at issue in EAPA Case No. 7459 – “steel trailer wheels produced in Thailand from inputs

sourced from China (i.e., either the rim or disc component is sourced from China and the

corresponding rim or disc component is produced in Thailand, which may or may not involve

using inputs sourced from China)” – were “covered merchandise” (i.e., subject to the AD/CVD

Orders). Letter from CBP to Commerce (Dec. 17, 2020) (“CBP Referral”), Appx1386-1388;

Certain Steel Wheels 12 to 16.5 Inches in Diameter from the People’s Republic of China, 86 Fed.

Reg. 10245, 10246 (Dep’t Commerce Feb. 19, 2021) (“Referral Notice”), Appx1397-1398.

          COMMERCE’S SCOPE INQUIRY ADDRESSING                            TRAILER    WHEELS
          MANUFACTURED BY ASIA WHEEL IN THAILAND

          On November 10, 2020, before CBP issued its covered merchandise referral, Asia Wheel

requested that Commerce issue a scope ruling to confirm that certain trailer wheels Asia Wheel

produced in Thailand were not covered by the scope of the AD/CVD Orders. See Asia Wheel

Scope Ruling Request, Appx80000. Specifically, Asia Wheel asked Commerce to confirm that




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trailer wheels Asia Wheel produced in Thailand using the three production methods described

below are not covered by the scope of the AD/CVD Orders.

         Production Method A: Asia Wheel produces rims in Thailand from rectangular steel

          plates sourced from China or a third country; welds the Thailand-produced rims to discs

          sourced from China to assemble trailer wheels; and paints the wheels per the customer’s

          specification (“Method A Wheels”). To convert the steel plate into a rim, Asia Wheel

          coils the rectangular steel plate to form a circle; welds the open butts of the steel ring into

          a closed steel ring; polishes the welded steel ring to remove slag from the surface;

          expands the outer sides of the polished steel ring for precise positioning during the

          subsequent rolling phase; rolls the steel rings in three stages, gradually forming the

          surface of the steel ring into the precise shape of the rim; adjusts the unfinished rim to the

          precise shape required for insertion of the disc; and punches a valve hole in the surface of

          the rim. Each step uses specific machinery.       See Asia Wheel Scope Ruling Request at

          Exhibit 4, Appx80060-80061. The images below show the input rectangular steel plate

          compared to the output rim (see id. at Exhibit 4, Appx80062):




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         Production Method B: Asia Wheel produces rims in Thailand from rectangular steel

          plates sourced from China or a third country. Asia Wheel also produces discs in Thailand

          from circular steel plates sourced from China. Asia Wheel then welds the Thailand-

          produced rims and Thailand-produced discs to assemble trailer wheels, and paints the

          wheels per the customer’s specification (“Method B Wheels”). See Asia Wheel Scope

          Ruling Request at Exhibit 5, Appx80066-80068.

         Production Method C: Asia Wheel produces non-standard trailer wheels called “dual

          wheels” in Thailand. For dual wheels, Asia Wheel produces discs in Thailand from disc

          blanks sourced from China. Asia Wheel then welds the Thailand-produced discs to rims

          from China to assemble dual wheels, and paints the wheels per the customer’s

          specification (“Method C Wheels”). See Asia Wheel Scope Ruling Request at Exhibit 6,

          Appx80074-80075.

None of the production methods uses both rims and discs from China.

          Asia Wheel did not request a scope ruling from Commerce because it thought any of

these trailer wheels were potentially covered by the scope of the AD/CVD Orders. Rather, Asia

Wheel requested a scope ruling because it needed Commerce to confirm that the products were

outside the scope for CBP, since CBP had initiated EAPA Case. No. 7459 concerning the same

wheels imported from Thailand.

         In response to Asia Wheel’s request, Commerce initiated a scope inquiry on March 22,

2021. See Commerce Letter to Interested Parties, RE: Initiation of Asia Wheel Scope Inquiry

(A-570-090, C-570-091) (Mar. 22, 2021), Appx1410. During the inquiry, Commerce issued

supplemental questionnaires to which Asia Wheel responded. Commerce also stated that it

would “address the covered merchandise referral and Asia Wheel Co., Ltd.’s scope ruling




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request in the ongoing scope segments of the AD and CVD proceedings{,}” and, “{b}ased on

{its} determinations in the ongoing scope segments of the AD and CVD proceedings, {would}

notify CBP as to whether the merchandise subject to the referral is covered merchandise within

the meaning of section 517(a)(3) of the Act.”        Referral Notice, 86 Fed. Reg. at 10246,

Appx1398.

          A.         Commerce’s Preliminary Scope Ruling

         On August 25, 2022, Commerce issued the preliminary scope ruling. See Commerce

Memorandum, RE: Preliminary Scope Ruling: Asia Wheel’s Steel Wheels Processed in Thailand

(A-570-090, C-570-091) (Aug. 25, 2022) (“Prelim. Scope Ruling”), Appx2442. Commerce

found that Method A Wheels and Method C Wheels are subject to the scope of the AD/CVD

Orders, and that Method B Wheels are outside the scope of the AD/CVD Orders. See id. at 24,

Appx2465.

         Commerce denied that it had determined in the original AD/CVD investigations that only

trailer wheels produced in a third country with both rims and discs from China are covered by

the scope of the AD/CVD Orders. See Prelim. Scope Ruling at 13, Appx2454. At the same time,

however, Commerce found that the AD/CVD Orders did not clearly include trailer wheels

produced in a third country with only one component (rim or disc) originating from China.

Consequently, Commerce conducted a “substantial transformation” analysis to determine

whether Thailand or China is the country of origin of the Method A and Method C Wheels

imported into the United States for AD/CVD purposes. Commerce preliminarily determined that

the Chinese-origin components were not substantially transformed in Thailand, such that China

was the country of origin of the imported Method A Wheels and Method C Wheels. See Prelim.

Scope Ruling at 21, Appx2462.




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          B.         Asia Wheel’s and the Importers’ Briefing

         On October 5, 2022, Asia Wheel filed a case brief in the scope proceeding. See Asia

Wheel Case Brief (A-570-090, C-570-091) (Oct. 5, 2022) (“Asia Wheel Case Br.”); Appx81553.

First, Asia Wheel argued that the plain language of the scope of the AD/CVD Orders, as

interpreted by Commerce during the original AD/CVD investigations, does not include trailer

wheels made in a third country using rims or discs from China. Appx81565-81569. Second,

with respect to substantial transformation, Asia Wheel argued that Commerce’s preliminary

analysis was fundamentally flawed, because Commerce focused its analysis on the Chinese-

origin component (such as a disc for Method A Wheels), and overlooked the finished product

imported into the United States. Appx81570-81589. Third, Asia Wheel argued that, in the event

of an affirmative final scope ruling, Commerce should direct CBP to commence suspension of

liquidation no earlier than the date of the preliminary scope ruling (August 25, 2022), and not

continue any prior suspension imposed by CBP, because importers lacked adequate notice that

Method A Wheels and Method C Wheels are covered by the scope of the AD/CVD Orders until

that date. Appx81589-81593. Finally, also in the event of an affirmative scope ruling, Asia

Wheel argued that only the Chinese-origin component (i.e., the discs in Method A Wheels and

the rims in Method C Wheels) should be subject to AD/CVD liability. Appx81594-81595.

         The Importers also submitted a case brief making the same or similar arguments. See

Importers’ Case Brief (A-570-090, C-570-091) (Sept. 21, 2022), Appx2514. Asia Wheel and the

Importers also presented their arguments to Commerce at a hearing conducted in February 2023.

See Commerce Hearing Transcript (Feb. 6, 2023) at 12-36, Appx2713-2737.

          C.         Commerce’s Final Scope Ruling

         On April 11, 2023, more than two years after it had initiated the scope inquiry and having

given itself fourteen extensions of the deadline, see Commerce Memorandum (Feb. 27, 2023),


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Appx2778, Commerce issued the Final Scope Ruling. Commerce continued to find that Method

A Wheels and Method C Wheels are subject to the scope of the AD/CVD Orders, and that

Method B Wheels are outside the scope of the AD/CVD Orders. See Final Scope Ruling at 54,

Appx2835.

         Commerce found that it was appropriate to apply a substantial transformation analysis to

determine the country of origin of Method A Wheels and Method C Wheels because “the plain

language of the scope is ambiguous” as to whether such wheels – where only one of the two

components was from China – are subject to the scope of the AD/CVD Orders. Final Scope

Ruling at 14, Appx2795.

         Commerce also continued to find that the Chinese-origin components did not undergo

substantial transformation in Thailand, such that China was the country of origin for the

imported Method A Wheels and Method C Wheels. See Final Scope Ruling at 26, 35-36,

Appx2807, Appx2816-2817. In doing so, Commerce stated that it was “not altering {its}

assessment of any individual factor” discussed in the preliminary scope ruling. Id. at 26,

Appx2807.

         Moreover, Commerce stated that it “intend{ed} to instruct CBP to continue the suspension

of liquidation for products found to be covered by the scope of the Orders if already suspended,

and if liquidation of entries of such products is not already suspended, {it} intend{ed} to instruct

CBP to suspend liquidation of entries of products found to be covered by the scope of the Orders

effective to the date we initiated upon Asia Wheel’s scope request.” Final Scope Ruling at 40

(emphasis added), Appx2821. Commerce also rejected the argument that only the Chinese-

origin component (rim or disc) should be subject to AD/CVD liability. See Final Scope Ruling

at 47-48, Appx2828-2829.




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          CBP’S EAPA DETERMINATION

          In August 2023, after Commerce issued the Final Scope Ruling, CBP issued an

affirmative duty evasion determination, for which the Importers have requested administrative

review per 19 C.F.R. § 165.41. See CBP, Notice of Determination as to Evasion (Aug. 7, 2023),

available            at:   https://www.cbp.gov/document/publications/eapa-cons-investigation-7459-

lionshead-specialty-tire-and-wheel-llc-tex-trail.

                                      STANDARD OF REVIEW

          The Court “shall hold unlawful” a Commerce final scope determination if it is

“unsupported by substantial evidence on the record, or otherwise not in accordance with law.”

19 U.S.C. § 1516a(b)(1)(B)(i); see also Micron Tech. Inc. v. United States, 117 F.3d 1386, 1393

(Fed. Cir. 1997).

          Substantial evidence means “such relevant evidence as a reasonable mind might accept as

adequate to support a conclusion.” DuPont Teijin Films USA v. United States, 407 F.3d 1211,

1215 (Fed. Cir. 2005) (quoting Consol. Edison Co. v. NLRB, 305 U.S. 197, 229 (1938)). In

determining whether Commerce’s conclusions are based on substantial evidence, the Court must

consider “the record as a whole, including {evidence} which fairly detracts from {the} weight”

of Commerce’s conclusions. Target Corp. v. United States, 609 F.3d 1352, 1358 (Fed. Cir.

2010) (internal quotation marks and citation omitted). Moreover, a determination based on

inadequate reasoning cannot survive the “substantial evidence” standard of review. See Chr.

Bjelland Seafoods A/S v. United States, 19 C.I.T. 35, 37 (1995) (citing USX Corp. v. United

States, 655 F. Supp. 487, 489 (Ct. Int’l Trade 1987)).

          As concerns judicial review of Commerce scope rulings, “the question of whether the

unambiguous terms of a scope control the inquiry, or whether some ambiguity exists, is a

question of law that {the court} review{s} de novo.”        Meridian Prods., LLC v. United States,


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851 F.3d 1375, 1381 (Fed. Cir. 2017) (citing Allegheny Bradford. Corp. v. United States, 342 F.

Supp. 2d 1172, 1183 (Ct. Int’l Trade 2004)).         Further, “a scope determination is not in

accordance with law if it changes the scope of an order or interprets an order in a manner

contrary to the order’s terms.” Allegheny Bradford, 342 F. Supp. 2d at 1183 (citing Duferco

Steel, Inc. v. United States, 296 F.3d 1087, 1094-95 (Fed. Cir. 2002)).

                                         ARGUMENT

          COMMERCE’S INTERPRETATION OF THE SCOPE IS UNSUPPORTED BY
          SUBSTANTIAL EVIDENCE AND NOT IN ACCORDANCE WITH LAW

          “Scope orders may be interpreted as including {specific} merchandise only if they

contain language that specifically includes {that} merchandise or may be reasonably interpreted

to include it.” Duferco Steel, Inc. v. United States, 296 F.3d 1087, 1089 (Fed. Cir. 2002). Here,

the plain language of the scope of the AD/CVD Orders neither specifically includes nor may

reasonably be interpreted to include steel wheels manufactured in third countries using rims or

discs from China – but not both. Rather, the plain language indicates that both the rims and the

discs must originate from China for a wheel assembled in a third country to fall within the scope.

Despite confirming this interpretation during the original AD/CVD investigations, Commerce

unreasonably backtracked in the Final Scope Ruling, now claiming that the scope is ambiguous

with respect to whether such wheels manufactured in third countries are outside the scope of the

AD/CVD Orders. Commerce’s interpretation of the scope language in the Final Scope Ruling is

impermissible and also unsupported by substantial evidence.




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          A.         The Plain Language of the Scope Does Not Include Trailer Wheels
                     Manufactured in a Third Country If Only One of Two Wheel Components Is
                     of Chinese-Origin

          Commerce determines whether a product is covered by the scope of an order in

accordance with 19 C.F.R. § 351.225(k).3 The starting point for Commerce’s analysis is the

scope language itself. See Meridian Prods., 851 F.3d at 1381 (“Commerce’s inquiry must begin

with the order’s scope to determine whether it contains an ambiguity and, thus, is susceptible to

interpretation.”); see also Duferco, 296 F.3d at 1097 (“{A} predicate for the interpretive process

is language in the order that is subject to interpretation.”). “If the scope is unambiguous, it

governs.” Meridian, 851 F.3d at 1381. Interpretation of the plain language of the scope is a

legal question that the court reviews de novo. See id. at 1382. Here, the plain language of the

scope does not include wheels manufactured in third countries where only one of two wheel

components originates from China.

          The AD/CVD Orders state: “The scope includes rims, discs, and wheels that have been

further processed in a third country, including, but not limited to, . . . the welding and painting of

rims and discs from China to form a steel wheel . . . .” 84 Fed. Reg. 45952, 45954 (emphasis

added). On its face, the plain language of the scope indicates that, if a wheel is assembled in a

third country, the wheel is subject to the AD/CVD Orders only if both the rims “and” discs are

from China. “‘And does not mean ‘or.’” Adams v. U.S. Forest Serv., 671 F.3d 1138, 1145 (9th

Cir. 2012). “As a linguistic matter, ‘and’ and ‘or’ are not synonyms; indeed, they are more

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   As recognized by Commerce in the scope proceeding, “{a}though Commerce published
revisions to its scope regulations in September 2021, the new scope regulations only became
effective on November 4, 2021.” Final Scope Ruling at 2 n.4, Appx2783 (citing Regulations to
Improve Administration and Enforcement of Antidumping and Countervailing Duty Laws, 86
Fed. Reg. 52300 (Dep’t Commerce Sept. 20, 2021)). Consequently, “because Asia Wheel filed
its scope ruling request on November 11, 2020, before the effective date of the new regulations,”
the pre-amendment version of 19 C.F.R. § 351.225 applies to Commerce’s Final Scope Ruling.
Id.


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nearly antonyms. One need only start the day with a breakfast of ham or eggs to be duly

impressed by the difference.” MacDonald v. Pan Am. World Airways, Inc., 859 F.2d 742, 746

(9th Cir. 1988) (Kozinski, J., dissenting) (emphasis in original).

          “Commerce cannot ‘interpret’ an antidumping order so as to change the scope of that

order, nor can Commerce interpret an order in a manner contrary to its terms.” Eckstrom Indus.,

Inc. v. United States, 254 F.3d 1068, 1072 (Fed. Cir. 2001). Here, the third-country-processing

provision of the AD/CVD Orders’ scope cannot reasonably be interpreted to include wheels

made in third countries from rims or discs from China, because the scope states “rims and discs

from China” – not “rims or discs from China.” Consequently, as a matter of law, such wheels

manufactured in third countries are outside the scope of the AD/CVD Orders, and it was

impermissible for Commerce to conclude otherwise. See Allegheny Bradford, 342 F. Supp. 2d at

1183 (“[A] scope determination is not in accordance with law if it changes the scope of an order

or interprets an order in a manner contrary to the order’s terms.”) (citing Duferco, 296 F.3d at

1094-95).

          B.         Commerce’s Interpretation of the Scope Based on the § 351.225(k)(1)
                     Primary Interpretive Sources Is Unsupported by Substantial Evidence

          Although the scope language is paramount, Commerce will also consider primary

interpretive sources, namely, the “descriptions of the merchandise contained in the petition, the

initial investigation, and the determinations of {Commerce} (including prior scope

determinations) and the Commission.” 19 C.F.R. § 351.225(k)(1); see also Meridian, 851 F.3d

at 1382; Duferco, 296 F.3d at 1097 (“Scope orders are ‘interpreted with the aid of the

antidumping petition, the factual findings and legal conclusions adduced from the administrative

investigations, and the preliminary order.’”), quoting Smith Corona Corp. v. United States, 915

F.2d 683, 685 (Fed. Cir. 1990). “Commerce’s analysis of these sources against the product in



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question produces factual findings reviewed for substantial evidence.” Meridian, 851 F.3d at

1382.       Here, contrary to an unequivocal record, Commerce unreasonably denied having

confirmed in the original investigations that wheels manufactured in third countries with only

one wheel component (rims or discs) originating in China are outside the scope.

                        Commerce determined in the AD/CVD investigations that wheels
                        made in third countries with rims or discs from China (but not both)
                        are outside the scope

          Commerce’s scope determination in the original investigations – consideration of which

is required under 19 C.F.R. § 351.225(k)(1) – reinforces the conclusion that both the rims and

discs of the wheels must originate in China for steel wheels assembled in third countries to fall

within the scope of the AD/CVD Orders.

          In its preliminary scope determination issued during the AD/CVD investigations,

Commerce amended Petitioner’s proposed third-country-processing provision to clarify “that

rims and discs from China that have been further processed in a third country into finished steel

wheels be included within scope” – adding the qualifier “from China.” Prelim. INV Scope Memo

at 10-11 (emphasis added), Appx80035-80036. Commerce added the “from China” requirement

in response to comments from Zhejiang Jingu and Tredit, an importer, both of which had argued

that Dexstar’s proposed third-country-processing provision should be amended “to require that

the rim and disc both be of Chinese origin.” Id. at 7-8, Appx80032-80033.

          Subsequently, two other importers, Trans Texas and HiSpec, argued in case briefs that

Commerce’s amendment to the third-country-processing provision did not go far enough. In

their view, although “{t}he plain meaning and the intent of {the third-country-processing}

language is to include only steel wheels assembled in a third country when both the rims and

discs originate from China{,}” the “plain meaning of this scope . . . potentially may be

undermined by the phrase ‘including but not limited to’ in the Preliminary AD Determination


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scope.” Asia Wheel Scope Ruling Request at Exhibit 3, Appx80051-80052, Appx80055-80056.

Consequently, both importers asked Commerce to confirm in the final determination – “ideally

written into the scope itself” – “that wheels comprised of rims or discs from China that are

assembled in a third country with rims or discs from third countries are not within scope.” Id.,

Appx80052, Appx80056. In a rebuttal brief, Zhejiang Jingu “agree{d} with {Trans Texas} and

Hi-Spec that the amended scope language only covers third country processing if both the ‘rims

and discs’ are from China.” Id., Appx80045.

          Commerce’s response in the final scope determination was unequivocal. Commerce

declined to amend the scope language further to incorporate Trans Texas’s and HiSpec’s request

because “the existing language sufficiently conveys the concept that third-country processing of

a steel wheel must be of rims and discs produced in China” for the imported wheel to be within

scope. Final INV Scope Memo at 22-23 (emphasis added), Appx80020-80021. Commerce

reiterated this position at the conclusion of its analysis, stating:

          Furthermore, as we find that the existing language sufficiently conveys the
          concept that third-country processing of a steel wheel must be of rims and discs
          produced in China and agree, generally, with the respondent/importer’s
          understanding of this language, we do not find it necessary to adopt further
          clarification language proposed in the respondent/importer’s affirmative scope
          comments.

Id. at 24 (emphasis added), Appx80022. If it were unnecessary for both the rims and discs of

trailer wheels manufactured in third countries to originate from China, Commerce would not

have used the word “must” – but it did. The final scope language adopted by Commerce thus

requires that both the rims and the discs “must” originate from China for third-country-

assembled wheels to be within scope.

          For these reasons, Commerce’s scope determination in the AD/CVD investigations leads

to the unavoidable conclusion that the agency interpreted the third-country-processing provision



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to mean that trailer wheels manufactured in a third country with rims or discs from China – but

not both – are outside the scope of the AD/CVD Orders.             Any conclusion otherwise is

unsupported by substantial evidence.

                        Commerce recharacterized its scope analysis from the AD/CVD
                        investigations

          Despite its interpretation of the third-country-processing provision in the original

investigations, Commerce concluded in the contested Final Scope Ruling that the scope of the

AD/CVD Orders is “ambiguous” as to coverage of finished wheels manufactured in a third

country using rims or discs (but not both) from China. See Final Scope Ruling at 14, Appx2795.

In doing so, Commerce offered three main justifications for its newfound position – none of

which is supported by substantial evidence.

          First, Commerce claimed to have rejected the interpretation advanced by importers Trans

Texas and HiSpec that the third-country-processing provision includes only wheels made in third

countries from rims and discs from China. See Final Scope Ruling at 14 (“we declined to clarify

the scope language as requested by the respondent and certain importers”), 15 (“we were

rejecting all parties’ attempts to clarify this question {(i.e., rims or discs from China)}

generally”) (emphasis added), Appx2795, Appx2796.             Commerce’s claim, however, is

impossible to reconcile with its handling of the third-country-processing provision during the

original AD/CVD investigations, as recounted above. In particular, importers Trans Texas and

HiSpec specifically asked Commerce to confirm “that wheels comprised of rims or discs from

China that are assembled in a third country with rims or discs from third countries are not within

scope{,}” and recommended that Commerce amend the scope language to make this even

clearer, if necessary. Asia Wheel Scope Ruling Request at Exhibit 3, Appx80052, Appx80056.

In response, Commerce expressed agreement with Trans Texas’s and HiSpec’s understanding of



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the third-country-processing provision, and concluded it was unnecessary to “adopt further

clarification language” because “the existing language sufficiently conveys the concept that

third-country processing of a steel wheel must be of rims and discs produced in China . . . .”

Final INV Scope Memo at 24 (emphasis added), Appx80022.               In other words, Commerce

declined to amend the scope as requested by the importers because it agreed that steel wheels

assembled in third countries fall within scope only if both the rims and discs originate from

China.       Commerce’s contrary claim in the Final Scope Ruling is unreasonable and, thus,

unsupported by substantial evidence.

          Second, Commerce asserted that the “including, but not limited to” language of the third-

country-processing provision means that wheels made in third countries from rims or discs from

China were not necessarily excluded from the scope. See Final Scope Ruling at 15, Appx2796

(citing Prelim. Scope Ruling at 13 (“The ‘including, but not limited to’ clause indicates that the

‘painting of wheels from China and the welding and painting of rims and discs from China to

form a steel wheel’ are non-exhaustive examples of included processing . . . .”), Appx2454).

While the “including, but not limited to” phrase indicates the scope may include scenarios of

third-country processing of Chinese-origin rims, discs, and wheels beyond those provided as

examples in the scope language, Commerce addressed the question of wheels made in third

countries from rims or discs from China in the AD/CVD investigations. Specifically, Commerce

approved a third-country-processing provision indicating that the scope includes wheels

manufactured in third countries using “rims and discs from China.” AD/CVD Orders, 84 Fed.

Reg. at 45954 (emphasis added). If the scope could extend to wheels manufactured in third

countries using rims or discs from China, Commerce would have used the phrase “rims or discs

from China” instead of “rims and discs from China.” Commerce not only declined to do so, but




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also rejected Dexstar’s request to substitute “or” for “and” – finding that use of “or” would be

“intentionally and selectively expansionary and not consistent with the plain meaning of the

word ‘and.’” Final INV Scope Memo at 24, Appx80022.

          Furthermore, as discussed, in case briefs submitted to Commerce during the AD/CVD

investigations, Trans Texas and HiSpec warned that, absent clarification from Commerce, the

“including, but not limited to” phrase could potentially undermine the plain meaning of the third-

country-processing provision – that “steel wheels assembled in a third country when either the

rims or discs do not originate from China” are outside the scope.      Asia Wheel Scope Ruling

Request at Exhibit 3, Appx80052, Appx80056. In response, Commerce concluded that another

amendment to the third-country-processing provision was unnecessary, because “the existing

language sufficiently conveys the concept that third-country processing of a steel wheel must be

of rims and discs produced in China” for the imported wheels to be within scope. Final INV

Scope Memo at 24 (emphasis added), Appx80022. In light of its prior scope determination in the

original AD/CVD investigations, Commerce’s conclusion in the Final Scope Ruling that the

“including, but not limited to” phrase could be interpreted to cover steel wheels assembled in

third countries with rims or discs from China is unreasonable and unsupported by substantial

evidence.

          Third, Commerce also contended that in the underlying AD/CVD investigations it

deferred the question of whether the scope covers wheels made in third countries from rims or

discs (but not both) from China for resolution in a future scope or circumvention inquiry. See

Final Scope Ruling at 14-15, Appx2795-2796.          According to Commerce, in the original

AD/CVD investigations:

          {Commerce} anticipated additional analysis where one component was sourced in
          a third country, stating “Commerce does not foreclose a further analysis of



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          substantial transformation should a product be completed in a third country from a
          mix of rim and disc parts from China and a third country, if an interested party
          requests a scope ruling and/or to address a future circumvention concern.”

Preliminary Scope Ruling at 14, Appx2455 (citing Final INV Scope Memo at 24, Appx80022).

Commerce, however, relied on this sentence in isolation. Whatever Commerce meant by “a mix

of rim and disc parts from China and a third country,” it did not mean that wheels made in third

countries from rims or discs from China (but not both) could potentially be covered by the scope,

because Commerce expressly addressed this scenario during the investigations. Commerce

confirmed this in the last sentence of the same paragraph, stating:

          {A}s we find that the existing language sufficiently conveys the concept that
          third-country processing of a steel wheel must be of rims and discs produced in
          China and agree, generally, with the respondent/importer’s understanding of this
          language, we do not find it necessary to adopt the further clarification language
          proposed in the respondent/importer’s affirmative scope comments.

Final INV Scope Memo at 24 (emphasis added), Appx80022.                 Once again, Commerce’s

recharacterization of its scope analysis in the original AD/CVD investigations is unreasonable

and unsupported by substantial evidence.

          C.         Conclusion

          As reported to Commerce, Asia Wheel produces Method A and C Wheels in Thailand

using only one Chinese-origin wheel component – a rim or a disc. To produce Method A

Wheels, Asia Wheel manufactures rims in Thailand from rectangular steel plates, welds the

Thai-origin rims to Chinese-origin discs, and paints the assembled wheel. See Asia Wheel Scope

Ruling Request at 6-7 & Exhibit 4, Appx80005-80006, Appx80060-80063. To produce Method

C Wheels, Asia Wheel produces discs in Thailand from disc blanks sourced from China, welds

the Thai-origin discs to Chinese-origin discs, and paints the assembled steel wheel. See id. at 7

& Exhibit 6, Appx80006, Appx80074-80077. In both cases, Asia Wheel manufactures finished

trailer wheels in Thailand using rims or discs (but not both) from China.            Consequently,


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consistent with the plain language of the third-country-processing provision and Commerce’s

interpretation of it during the original AD/CVD investigations, Asia Wheel’s Method A and C

Wheels are outside the scope of the AD/CVD Orders. Commerce’s conclusion in the Final

Scope Ruling that the scope is ambiguous on this point is not in accordance with law and

unsupported by substantial evidence.

          COMMERCE’S “SUBSTANTIAL TRANSFORMATION” ANALYSIS                                       IS
          UNLAWFUL AND UNSUPPORTED BY SUBSTANTIAL EVIDENCE

          In determining that the Chinese-origin wheel components (rims for Method A Wheels)

were not substantially transformed in Thailand, Commerce failed to apply the proper legal

standard or reach a conclusion supported by substantial evidence. Contrary to binding case law,

Commerce ducked the fundamental question of whether Asia Wheel’s processing in Thailand

resulted in a product with a new name, character, and use. Commerce also unreasonably

concluded – contrary to undisputed evidence that a finished wheel requires both a rim and a disc

to exhibit its essential characteristics and achieve its function – that a Chinese-origin disc alone

already exhibits the essential characteristics of a finished wheel (i.e., the Method A Wheel).4 For

these reasons, Commerce’s determination that Asia Wheel’s manufacturing operations in

Thailand failed to yield a substantial transformation is not in accordance with law and

unsupported by substantial evidence.

          Commerce conducts a “substantial transformation” analysis “to determine country of

origin for an imported article.” Bell Supply Co., LLC v. United States, 888 F.3d 1222, 1228

(Fed. Cir. 2018) (citing E.I. DuPont de Nemours & Co. v. United States, 8 F. Supp. 2d 854, 859

4
 Due to low U.S. shipment volumes and in the interest of judicial economy, Asia Wheel and the
Importers are not pursuing the claim that Commerce’s “substantial transformation”
determination with respect to Method C Wheels (i.e., wheels manufactured in Thailand by Asia
Wheel with disc blanks and rims from China) was unsupported by substantial evidence and
otherwise not in accordance with law.


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(Ct. Int’l Trade 1998)). The Federal Circuit has held that “{a} substantial transformation occurs

where, ‘as a result of manufacturing or processing steps . . . [,] the [product] loses its identity and

is transformed into a new product having a new, name, character and use.’” Id. (quoting

Bestfoods v. United States, 165 F.3d 1371, 1373 (Fed. Cir. 1999)). In determining whether

substantial transformation occurred, Commerce’s practice is to consider factors such as “(1) the

class or kind of merchandise; (2) the nature and sophistication of processing in the country of

exportation; (3) the product properties, essential component of the merchandise, and intended

end-use; (4) the cost of production/ value added; and (5) level of investment.” Id. at 1228-29.

          Here, in finding the absence of a substantial transformation, Commerce ignored the

fundamental question of whether the Chinese-origin wheel component (a disc for Method A

Wheels) became “a new product having a new name, character and use” in Thailand. Bell

Supply, 888 F.3d at 1228 (quoting Bestfoods, 165 F.3d at 1373). Commerce conceded as much

in its final determination, stating:

          Whereas Commerce may consider whether the third-country processing imparted
          ‘a new name, character, and use’ in consideration of the totality of circumstances,
          any such finding may not supplant an analysis of the record otherwise with
          respect to the substantial transformation factors and evidence which suggests the
          further processing did not substantially transform the merchandise, regardless of
          whether a new name, character, and use was obtained as a result of such
          processing.

Final Scope Ruling at 27-28 (emphasis added), Appx2808-2809. Commerce had it backwards.

As recognized by the Federal Circuit in Bell Supply, the purpose of the substantial transformation

factors is to inform whether, through manufacturing or processing, an article lost its identity and

became a new product with a new name, character, and use. See Bell Supply, 888 F.3d at 1228;

see also E.I. DuPont, 8 F. Supp. 2d at 857 (“Substantial transformation generally refers to a

degree of processing or manufacturing resulting in a new and different article.”).




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          In fact, Commerce itself referred to “name, character, and use” as the principal test under

the substantial transformation analysis in the “Legal Framework” section of its final and

preliminary scope rulings, stating: (1) “Commerce’s substantial transformation analysis asks . . .

whether, as a result of the manufacturing or processing, the product loses its identity and is

transformed into a new product having a new name, character, and use” and (2) that “Commerce

may examine a number of factors in conducting its substantial transformation analysis” (e.g.,

class or kind of merchandise; essential component and intended end-use; nature/sophistication of

processing). Final Scope Ruling at 7-8 (citing Bell Supply, 888 F.3d at 1228-29) (emphasis

added), Appx2788-2789; Preliminary Scope Ruling at 7-8 (same), Appx2448-2449.

Commerce’s failure to apply the legal standard it articulated highlights the arbitrary nature of its

substantial transformation analysis. See, e.g., NMB Sing. Ltd. v. United States, 557 F.3d 1316,

1328 (Fed. Cir. 2009) (remanding to Commerce and explaining that “{o}nce Commerce

establishes a course of action, . . . Commerce is obliged to follow it until Commerce provides a

sufficient, reasoned analysis explaining why a change is necessary”); Katunich v. Donovan, 599

F. Supp. 985, 986 (Ct. Int’l Trade 1984) (“It is a sound principle of administrative law that an

administrative agency must either follow or adhere to existing policies and precedents or explain

its noncompliance or deviation.”).

          Nowhere in either its final or preliminary scope ruling did Commerce answer the central

question of whether the Chinese-origin discs used by Asia Wheel became a new product

(finished Method A Wheels) in Thailand. See Final Scope Ruling at 26-36, Appx2807-2817;

Preliminary Scope Ruling at 17-21, Appx2458-2462. Instead, Commerce conducted a detailed

analysis of the substantial transformation factors that was divorced from the fundamental

question and, consequently, meaningless. Ultimately, Commerce concluded “that the country of




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origin of such inputs” – i.e., the Chinese-origin discs used for Method A Wheels – “is China,

and, thus, remain subject to the Orders after processing in Thailand.” Final Scope Ruling at 36,

Appx2817.5 The question is not, however, the country of origin of the Chinese-origin wheel

components. Rather, the question is the country of origin of the finished trailer wheels imported

into the United States. See Bell Supply, 888 F.3d at 1228 (“{T}he substantial transformation

analysis is used to determine country of origin for an imported article.”). Because Commerce

failed to apply the governing legal standard – addressing whether the Chinese-origin discs

became a new product with a new name, character, and use in Thailand – its country-of-origin

determination is not in accordance with law.

          Commerce’s analysis of the “essential component” factor further illustrates its flawed

approach. In finding that this factor weighed against a substantial transformation in Thailand,

Commerce reasoned that the Chinese-origin discs “maintain their essential characteristics (the . .

. discs . . . have a sole purpose/end use as exported from China: i.e., to be incorporated into a

specific finished wheel) . . . .” Final Scope Ruling at 35, Appx2816; see id. at 28 (“a given

{Chinese-origin} disc . . . continues to function as the only such component after incorporation

into a finished trailer wheel”), Appx2809; Preliminary Scope Ruling at 18 (“The essential

qualities and sole purpose of {Chinese-origin} wheel parts seemingly do not change through

processing in Thailand.”), 20, Appx2459, Appx2461.         With respect to Method A Wheels,

Commerce declined to find a substantial transformation, in part, because the Chinese-origin disc

continued to have the qualities and function as such after incorporation into a finished trailer

wheel. Applying the “new name, character and use” framework, however, the fundamental

question is not whether the Chinese-origin component continues to have the qualities and

5
 Commerce misspoke when it referred to rims as the Chinese-origin component of Method A
Wheels. See Final Scope Ruling at 35-36, Appx2816-2817.


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function as such after processing in Thailand, but whether the essential qualities and function of

the Chinese-origin disc differ from the essential qualities and function of the finished trailer

wheel manufactured in Thailand and imported into the United States. Again, because Commerce

failed to apply the legal standard affirmed by the Federal Circuit in Bell Supply, its country-of-

origin determination is not in accordance with law.

          Commerce’s finding with respect to the “essential component” factor is also unsupported

by substantial evidence. In declining to find a substantial transformation in Thailand, Commerce

quoted the Dexstar’s representation during the original AD/CVD investigations that:

          The observation that the rim or disc are not useable without being assembled into
          a wheel does not detract from the fact that the rim and the disc are the essential
          components of the wheel. The properties of rim and disc define the properties of
          the wheel and its end use. . . . {T}he properties and end uses of a wheel are
          determined by the physical properties of the rim and the disc, not by the
          assembly process.

Final Scope Ruling at 29 (emphasis in original) (quoting Petitioner’s Request for Clarification of

Country of Origin Criteria (Mar. 1, 2019) at 8-9), Appx2810. By Dexstar’s own admission, a

finished wheel requires both a rim and a disc to exhibit its essential characteristics and achieve

its function.        Yet, from this statement, Commerce somehow nonsensically reasoned that a

Chinese-origin disc fails to become a new product – a complete and functional wheel – when it is

welded to a Thai-origin rim and painted in Thailand. Because Commerce failed to draw a

“rational connection between the facts found and the choice made{,}” its finding that the

Chinese-origin disc is not substantially transformed in Thailand is unsupported by substantial

evidence. Timken U.S. Corp. v. United States, 421 F.3d 1350, 1355 (Fed. Cir. 2005) (quoting

Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)).

          Because Commerce failed to apply the proper legal standard and ground its decision in

substantial evidence, Commerce’s determination – that third-country processing converting a



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Chinese-origin disc into a finished wheel fails to effect a substantial transformation – should not

be sustained.

          COMMERCE’S DETERMINATION THAT THE ENTIRE FINISHED WHEEL
          MANUFACTURED IN THAILAND IS WITHIN THE SCOPE OF THE AD/CVD
          ORDERS IS UNLAWFUL AND UNSUPPORTED BY SUBSTANTIAL EVIDENCE

          “Commerce cannot ‘interpret’ an antidumping order so as to change the scope of that

order, nor can Commerce interpret an order in a manner contrary to its terms.” Eckstrom, 254

F.3d at 1072. An expansion of the scope is impermissible and not in accordance with law. See,

e.g., Allegheny Bradford, 342 F. Supp. 2d at 1183; Mitsubishi Elec. Corp. v. United States, 802

F. Supp. 455, 460 (Ct. Int’l Trade 1992). Here, in determining that the entire wheel imported

from Thailand is covered by the scope of the AD/CVD Orders, Commerce impermissibly

expanded the scope contrary to its terms. In addition, Commerce contradicted its substantial

transformation analysis, rendering its decision unsupported by substantial evidence.6

          The scope of the AD/CVD Orders “includes rims, discs, and wheels that have been

further processed in a third country . . . .” AD/CVD Orders, 84 Fed. Reg. at 45954 (emphasis

added).       With respect to Method A Wheels, a Chinese-origin disc is further processed in

Thailand; consequently, only the disc component could be covered by the AD/CVD Orders.

Commerce, however, determined that the entire Method A Wheel manufactured in Thailand is

subject to AD/CVD liability. See Final Scope Ruling at 47-48, Appx2828-2829. Commerce’s

determination is inconsistent with the plain language of the scope – which includes only the

Chinese-origin rim, Chinese-origin disc, or Chinese-origin wheel processed in a third country –

and, therefore, not in accordance with law.


6
  Due to low U.S. shipment volumes of Method C Wheels and in the interest of judicial
economy, Asia Wheel and the Importers are pursuing this claim only with respect to Method A
Wheels.


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          Additional language makes clear that the AD/CVD Orders apply only to the wheel

component that is subject, as opposed to covering nonsubject components as well. See AD/CVD

Orders, 84 Fed. Reg. at 45954 (“{I}f the steel wheels or rims are imported as an assembly with a

tire mounted on the wheel or rim and/or with a valve stem attached, the tire and/or valve stem is

not covered by the scope.”).

          Commerce’s determination is also inconsistent with its “substantial transformation”

analysis and, therefore, unsupported by substantial evidence. With respect to Method A Wheels,

for example, Commerce determined that Chinese-origin discs were not substantially transformed

in Thailand. See Final Scope Ruling at 35-36, Appx2816-2817. If substantial transformation

does not occur, however, it follows that the Chinese-origin discs (included in Method A Wheels)

do not lose their identities as such after being converted into a finished wheel. Applying this

same logic (i.e., no substantial transformation occurred in Thailand), the rims included in

Method A Wheels (produced in Thailand from steel plates) also do not lose their identities and

remain products of Thailand. Under these circumstances, only the subject component of the

imported wheel could reasonably be covered by the AD/CVD Orders and subject to AD/CVD.

In concluding otherwise, Commerce failed to draw a rational connection between the facts found

(i.e., the Chinese-origin disc is not substantially transformed) and the choice made (i.e.,

AD/CVD liability could extend to nonsubject components that likewise were not substantially

transformed). See Motor Vehicle Mfrs. Ass’n, 463 U.S. at 43.

          In rejecting this argument below, Commerce reasoned that its “determination with respect

to Production Method A . . . wheels finds that the finished wheels resulting from {this}

production method{}, as exported from Thailand to the United States, are not substantially

transformed by Thai processing and remain Chinese-origin wheels.” Final Scope Ruling at 48,




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Appx2829. Commerce’s logic is nonsensical, however, because the “substantial transformation”

question necessarily begins with the upstream product (e.g., a Chinese-origin disc for Method A

Wheels) – not the downstream product (i.e., the finished trailer wheel). A determination based

on inadequate reasoning cannot survive the “substantial evidence” standard of review. See Chr.

Bjelland, 19 C.I.T. at 37 (citing USX Corp., 655 F. Supp. at 489).

          COMMERCE IMPERMISSIBLY DIRECTED CBP TO CONTINUE TO
          SUSPEND LIQUIDATION OF IMPORTS ENTERED BEFORE THE DATE OF
          INITIATION OF THE SCOPE INQUIRY

          Commerce has a legal mandate to provide “fair warning” before subjecting imported

merchandise to AD/CVD liability. See Tai-Ao Aluminum (Taishan) Co. v. United States, 983

F.3d 487, 495 (Fed. Cir. 2020) (“Tai-Ao II”). Here, Commerce should have acknowledged the

lack of fair warning to the importers in its response to CBP’s covered merchandise referral.

Instead, Commerce unlawfully directed CBP “to continue” its prior suspension of liquidation

under the EAPA – which was retroactive and applied to entries made before the date of initiation

of Commerce’s scope inquiry – in contravention of its fair warning mandate. See Commerce

Liquidation Instruction to CBP, Message 3138405, at para. 8, Appx2904.

          A.         The Importers Did Not Receive Fair Warning That Trailer Wheels Produced
                     in Third Countries from Chinese “Rims Or Discs” Were Subject To The
                     AD/CVD Orders and Could Be Assessed Duties

          Commerce’s interpretation of the scope is unsupported by substantial evidence and not in

accordance with law, as detailed above. See supra, Section I. In the event that the Court finds

the products are nevertheless within the scope, the Importers did not receive fair warning that

trailer wheels produced in third countries from Chinese “rims or discs” were subject to the

AD/CVD Orders and could be assessed duties until Commerce initiated the scope inquiry

requested by Asia Wheel. Commerce admitted that “any ambiguity that the specific steel wheels

manufactured by Production Methods A and C may be subject to liabilities was established by


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the March 22, 2021, Asia Wheel Initiation memorandum and the explicit mention of the

merchandise in question therein constituted fair warning to any reasonably informed importer.”

Final Scope Ruling at 41, Appx2822. Consequently, even by Commerce’s own admission, the

Importers lacked fair warning that the specific wheels at issue were potentially within the scope

until that date.

          An “assessment of retroactive duties . . . is . . . unlawful” without “adequate notice” of

potential AD/CVD applicability. See Trans Texas Tire, LLC v. United States, 519 F. Supp. 3d

1275, 1287-88 (Ct. Int’l Trade 2021) (“Trans Texas I”); Trans Texas Tire, LLC v. United States,

519 F. Supp. 3d 1289, 1304-05 (Ct. Int’l Trade 2021) (“Trans Texas II”). As the Federal Circuit

explained when invalidating “retroactive” AD/CVD liability in its seminal Tai-Ao II decision:

          The notice requirement reflects “the broader due-process principle that before an
          agency may enforce an order or regulation by means of a penalty or monetary
          sanction, it must ‘provide regulated parties fair warning of the conduct {the order
          or regulation} prohibits or requires.’”

Tai-Ao II, 983 F.3d at 495 (emphasis added) (quoting Mid Continent Nail Corp. v. United States,

725 F.3d 1295, 1300-01 (Fed. Cir. 2013); Christopher v. SmithKline Beecham Corp., 567 U.S.

142, 156 (2012)). “This notice requirement is designed to avoid unfairness to importers . . . .” Id.

at 494.

          In describing the scope of the AD/CVD Orders at the conclusion of its investigations,

Commerce did not provide fair warning that trailer wheels produced in third countries from

Chinese “rims or discs” imported into the United States were or could eventually be subject to

the orders.          During the AD/CVD investigations, two importers, Trans Texas and HiSpec,

specifically asked Commerce to clarify – ideally in the scope language itself – “that wheels

comprised of rims or discs from China that are assembled in a third country with rims or discs

from third countries are not within scope.” Asia Wheel Scope Ruling Request at Exhibit 3



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(excerpts from Trans Texas’s and HiSpec’s case briefs) (emphasis added), Appx80048-80057.

Commerce responded:

          {A}s we find that the existing language sufficiently conveys the concept that
          third-country processing of a steel wheel must be of rims and discs produced in
          China and agree, generally, with the respondent/importer’s understanding of this
          language, we do not find it necessary to adopt further clarification language
          proposed in the respondent/importer’s affirmative scope comments.

Final INV Scope Memo at 24 (emphasis added), Appx80022; see also supra Section I.B. At the

same time, Commerce expressly rejected Dexstar’s request that the scope language be modified

to include trailer wheels manufactured in third countries from Chinese “rims or discs,” deciding

to maintain the “rims and discs” language in the final determination. Final INV Scope Memo at

24 (emphases added), Appx80022. Commerce went so far as to say:

          {W}e find that the use of the limit phrase (‘or’), is intentionally and selectively
          expansionary and not consistent with the plain meaning of the word ‘and.’ This
          finding is consistent with the reasonable interpretation of the existing language as
          it was seemingly understood by all parties, including Commerce, to this point.

Id., Appx80022. Given the administrative record, there was no basis for an importer to believe

that trailer wheels processed in a third country with Chinese “rims or discs” were or potentially

could be subject to the AD/CVD Orders.

          Instead, Commerce gave importers the exact opposite of fair warning – a due process

violation that is all the more egregious because the Importers have millions of dollars of

AD/CVD liability at stake, facing a combined AD/CVD rate that exceeds 400%. AD/CVD

Orders, 84 Fed. Reg. 45954. Because of Commerce’s unlawful and unreasonable actions, the

Importers are in this situation despite having conducted (and documented) onsite inspections of

Asia Wheel’s operation in Thailand to ensure compliance with the AD/CVD Orders based on

their objectively reasonable interpretation of the scope language and Commerce’s interpretation




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of the scope in the AD/CVD investigations. See supra Section I; Importers’ RFI at 8-9, Exhibits

2-4, Appx80442-80443, Appx80480-80509.

          Despite the unequivocal record recounted above and in more detail in Section I.B,

Commerce claimed that “fair warning that merchandise produced pursuant to production

methods such as those specified in Production Methods A and C, generally, may be the subject

of a future scope inquiry was explicitly provided by the statements in the underlying

investigation which considered this type of inquiry . . . .” Final Scope Ruling at 40, Appx2821.

As support for this contention, Commerce selectively quoted the following line from the Final

INV Scope Memo:           “Commerce does not foreclose a further analysis of substantial

transformation should a product be completed in a third country from a mix of rim and disc parts

from China and a third country, if an interested party requests a scope ruling and/or to address a

future circumvention concern.” Id. at 40-41 (emphases added), Appx2821-2822. In doing so,

however, Commerce omitted a critical passage immediately following the sentence it quoted:

          We find, at this time, that the current scope language is clear that only if all
          constituent rim and disc parts to form a steel wheel are from China does the
          order apply notwithstanding any analysis of substantial transformation.
          Therefore, we will not adopt the petitioner’s suggested language. Furthermore, as
          we find that the existing language sufficiently conveys the concept that third-
          country processing of a steel wheel must be of rims and discs produced in China
          and agree, generally, with the respondent/importer’s understanding of this
          language, we do not find it necessary to adopt the further clarification language
          proposed in the respondent/importer’s affirmative scope comments.

Final INV Scope Memo at 24 (emphases added), Appx2822. Consequently, read in context,

Commerce’s final scope determination cannot be said to have provided fair warning to importers

that trailer wheels manufactured in third countries with rims or discs from China were within

scope. Rather, Commerce communicated the opposite message. Moreover, even if Commerce

were correct that its Final INV Scope Memo provided notice of its intent to revisit whether




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AD/CVD should apply to such wheels, intent possibly to reconsider at some point in the future is

not fair warning of instant AD/CVD applicability. See Tai-Ao II, 983 F.3d at 495.

          Tai-Ao is instructive. In that case, Commerce initiated a circumvention inquiry in March

2016 as to one exporter and stated its intent to consider additional exporters later in the

proceeding. See Aluminum Extrusions from the People’s Republic of China, 81 Fed. Reg. 15039,

15039 (Dep’t Commerce Mar. 21, 2016) (initiation circumvention inquiry). Subsequently, in

November 2016, Commerce preliminarily found circumvention with respect to all exporters and

retroactively assigned AD/CVD liability to those not initially named. See Aluminum Extrusions

from the People’s Republic of China, 81 Fed. Reg. 79444, 79446 (Dep’t Commerce Nov. 14,

2016) (prelim. circumvention determ.). The court invalidated Commerce’s unlawful retroactive

AD/CVD assessment:

          The Initiation Notice does not provide any sort of set circumstances under which
          Commerce would determine all exporters were subject to the inquiry’s findings.
          In fact, the language “intends to consider whether the inquiry should apply”
          plainly indicates that Commerce had not yet determined the inquiry applied
          to all PRC exporters or the circumstances under which it would. In contrast,
          the Initiation Notice provides clear notice that the inquiry “covers extruded
          aluminum products . . . exported by Zhongwang.” If Commerce had wanted to
          conduct an inquiry into all PRC exporters, it should have stated this fact in
          similarly clear language.
Tai-Ao Aluminum (Taishan) Co. v. United States, 391 F. Supp. 3d 1301, 1314-15 (Ct. Int’l Trade

2019) (“Tao-Ao I”) (emphases added), opinion affirming remand, 415 F. Supp. 3d 1391 (Ct. Int’l

Trade 2019). The Federal Circuit affirmed: “A statement of intention to ‘consider whether the

inquiry should apply to all imports’ is not the same as a notice that such imports are within the

scope of the inquiry.” Tai-Ao II, 983 F.3d at 495. Accordingly, Commerce’s mere intent to

revisit a position in the future does not constitute sufficient notice of AD/CVD liability.




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          Likewise here, Commerce’s statement in the AD/CVD investigations that “at this time”

only wheels comprised of “rims and discs” from China are within the scope “plainly indicates

that Commerce had not yet determined” that the scope included wheels comprised of “rims or

discs” from China. Commerce’s statement of intent to revisit that determination in the “future”

is insufficient warning. “If Commerce had wanted” to include wheels made in third countries

with “rims or discs” from China (but not both), “it should have stated this fact in similarly clear

language.” Tai-Ao II, 391 F. Supp. 3d at 1315.

          This court in Trans Texas, which also involved the AD/CVD Orders, adopted the Tai-Ao

reasoning to invalidate Commerce’s retroactive assessment of AD/CVD on physical vapor

deposition (“PVD”) chrome wheels, holding:

          Commerce failed to provide adequate notice upon the initiation of the {AD/CVD}
          proceedings that PVD chrome wheels would not qualify for the exclusion for steel
          trailer wheels coated in chrome. Commerce’s assessment of retroactive duties on
          PVD chrome wheels is therefore unlawful.

Trans Texas I, 519 F. Supp. 3d at 1287; Trans Texas II, 519 F. Supp. 3d at 1303. Here,

Commerce likewise “failed to provide adequate notice” that wheels comprised of “rims or discs”

from China were subject to the AD/CVD Orders, such that “Commerce’s assessment of

retroactive duties” on such wheels “is therefore unlawful.” Trans Texas I, 519 F. Supp. 3d at

1287; Trans Texas II, 519 F. Supp. 3d at 1303.

          The different contexts in which the scope issues presented in Tai-Ao and Trans Texas

arose – a circumvention case in the former, and original AD/CVD investigations in the latter –

do not detract from their relevance to this proceeding. The Federal Circuit in Tai-Ao II made

clear that the “notice requirement is designed to avoid unfairness to importers and foreign

exporters.” Tai-Ao II, 983 F.3d at 494. Further, the Trans Texas Court rejected Defendant’s

argument that Tai-Ao notice should be different in a scope ruling context:



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          Although the case cites to the anti-circumvention regulations, which are not at
          issue in this case, the Federal Circuit nevertheless emphasized the importance of
          fairness to affected importers in the assessment of duties. . . . Although the facts
          are not perfectly analogous to this case, Tai-Ao I and Tai-Ao II clearly show that
          adequate notice is essential where Commerce attempts to apply retroactive duties.

Trans Texas I, 519 F. Supp. 3d at 1287-1288 (citations omitted); Trans Texas II, 519 F. Supp. 3d

at 1304 (citations omitted). There is no indication in either Tai-Ao or Trans Texas that critical

due process protection regarding scope is only required in a circumvention proceeding or in an

original AD/CVD investigation. Rather, both cases stand for the “broader due-process principle”

that Commerce must provide fair warning of potential AD/CVD liability before liquidation of

entries can be suspended. Tai-Ao II, 983 F.3d at 495; see also Tai-Ao I, 391 F. Supp. 3d at 1314-

15; Trans Texas I, 519 F. Supp. 3d at 1287-88; Trans Texas II, 519 F. Supp. 3d at 1304-05.

          In particular, Tai-Ao confirms that statements of intent to consider the potential

application of AD/CVD in the future do not constitute fair warning, unless and until such time as

Commerce acts on that tabled issue. Tai-Ao I, 391 F. Supp. 3d at 1314-15; Tai-Ao II, 983 F.3d at

495. Here, by Commerce’s own admission, that fair warning occurred on March 22, 2021, the

date of initiation of the underlying scope inquiry. See Commerce Letter to Interested Parties,

RE: Initiation of Asia Wheel Scope Inquiry (A-570-090, C-570-091) (Mar. 22, 2021),

Appx1410-1411.7

          B.         Commerce Unlawfully “Continued” CBP’s Prior Suspension of Liquidation

          Commerce instructed CBP to continue its prior suspension of liquidation under the EAPA

relating to the wheels manufactured by Asia Wheel in Thailand despite CBP’s admission that it

could not determine whether the wheels were within the scope of the AD/CVD Orders.

Commerce’s instructions are unlawful because the Importers lacked fair warning that wheels

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  Asia Wheel and the Importers referenced various dates in their Complaints as being the dates
on which potential AD/CVD liability would attach and have now refined their position to argue
that date of initiation of the scope inquiry is the appropriate date for purposes of this case.


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manufactured in a third country with rims or discs from China were potentially within the scope

of the orders until March 22, 2021, as discussed above. In declining to instruct CBP to terminate

its prior (and retroactive) suspension of liquidation under the EAPA, Commerce impermissibly

relied on the suspension of liquidation provision of its regulations, 19 C.F.R. § 351.225(l), in

contravention of the broader due-process principle of adequate notice.

          On December 17, 2020, Commerce received a covered merchandise (scope) referral

request from CBP. CBP Referral, Appx1386. CBP made the request pursuant to 19 U.S.C.

§ 1517(b)(4)(A) because it was “unable to determine whether the merchandise at issue is covered

merchandise {defined as merchandise covered by an AD or CVD order}” and stated that

Commerce’s “determination will assist CBP’s EAPA investigation in determining which

merchandise is subject to the payment of antidumping duties.” CBP Referral at 2, Appx1387. In

response, Commerce stated that it “intend{ed} to determine whether the merchandise subject to

the referral is covered by the scope of the orders” and that the covered merchandise referral

would be addressed in the scope inquiry requested by Asia Wheel. Referral Notice, 86 Fed. Reg.

at 10246, Appx1398.

          In its Final Scope Ruling, Commerce found that the scope language was ambiguous with

respect to the trailer wheels manufactured by Asia Wheel in Thailand with one wheel component

sourced from China, yet refused to acknowledge that it had not provided fair warning to

importers that such wheels were within the scope of the AD/CVD Orders. Final Scope Ruling at

14, 41-44, Appx2795, Appx2821-2825. Commerce stated it would “instruct CBP to continue the

suspension of liquidation for products found to be covered by the scope of the Orders if already

suspended,” id. at 40, Appx2821, citing 19 C.F.R. § 351.225(l)(3), and claimed it lacked




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“authority to direct suspension of liquidation implemented by CBP {under interim measures

pursuant to 19 U.S.C. 1517(e)}.” Id. at 43, Appx2824.

          To the contrary, Commerce has the ultimate authority to determine whether and when a

product is within the scope of an order, subject to the due-process requirement of providing fair

warning. See Sunpreme Inc. v. United States, 946 F.3d 1300, 1321 (Fed. Cir. 2020) (recognizing

that, while CBP has initial authority to determine whether a given entry of imported merchandise

is subject to the scope of an AD/CVD order, CBP cannot “‘modify Commerce’s determinations’

or otherwise impinge on Commerce’s authority to issue and set the scope of duty orders”);

Canadian Solar, Inc. v. United States, 918 F.3d 909, 917 (Fed. Cir. 2019) (“{Because t}he Tariff

Act does not require Commerce to define the ‘class or kind of [foreign] merchandise’ in any

particular manner{,} . . . Commerce has the authority to fill that gap and define the scope of an

order consistent with the countervailing duty and antidumping duty laws.”) (citation omitted).

          Under the EAPA specifically, Commerce has the authority to determine whether “the

merchandise at issue is covered merchandise” in response to a CBP referral.             19 U.S.C.

§ 1517(b)(4)(A). “Covered merchandise” means “merchandise that is subject to” an AD/CVD

order. 19 U.S.C. § 1517(a)(3). Inherently, a determination of whether imported merchandise is

“subject to” an order may also entail when the merchandise became subject to the order. Here,

because Commerce did not provide the Importers with adequate notice that the trailer wheels

imported from Asia Wheel were “subject to” the AD/CVD Orders until March 22, 2021,

Commerce was bound by due-process principles and the Federal Circuit’s decision in Tai-Ao II

to direct CBP to terminate its prior suspension of liquidation applying to entries made before that

date.




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          This court has recognized that Commerce’s determination of the scope overrides a

contrary scope position taken by CBP:

          Customs’ inclusion of merchandise in the EAPA investigation that had been
          determined by Commerce to be outside the scope of the Order is contrary to law
          because the EAPA statute does not permit Customs to include merchandise
          that is not covered by the scope of the Order. 19 U.S.C. § 1517(c)(1)(A). The
          Court notes that the EAPA statute states clearly that Commerce, not Customs, is
          the appropriate administering authority to issue a referral determination of
          whether merchandise is covered or not. Id. § 1517(b)(4)(A)(i), (B). Allowing
          Customs to override and disregard a statutorily authorized Final Scope
          Ruling by the administering authority would be contrary to law because this
          would effectively substitute Customs as the administering authority rather than
          Commerce. Id. § 1517(b)(4)(A)(i).
Aspects Furniture Int’l Inc. v. United States, 607 F. Supp. 3d 1246, 1267-1268 (Ct. Int’l Trade

2022) (emphases added).

          Given the lack of fair warning, Commerce should have instructed CBP that the imports

were not covered merchandise prior to the date of initiation of the scope inquiry. Doing so was

necessary to be consistent with the reformulated liquidation instructions required in Tai-Ao, for

which the Court instructed: “Because Commerce did not provide adequate notice . . . until

November 14, 2016, Commerce’s instructions to suspend liquidation effective March 21, 2016,

were not in accordance with law.” Tai-Ao II, 983 F.3d at 497. Such action is further necessary

to be consistent with Trans Texas, in which the court affirmed reformulated liquidation

instructions that provided “imports of PVD chrome wheels entered, or withdrawn {from}

warehouse, for consumption between the date of publication of Commerce’s Preliminary

Determination and the day before the date of publication of Commerce’s Final Determination

are outside the scope of the investigation.” Trans Texas Tire, LLC v. United States, 545 F. Supp.

3d 1374, 1377 (Ct. Int’l Trade 2021); Trans Texas Tire, LLC v. United States, 545 F. Supp. 3d

1378, 1382 (Ct. Int’l Trade 2021).




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          The Federal Circuit’s decision in Sunpreme does not require a different result. In that

case CBP determined the merchandise at issue was subject to an AD order and, consequently,

suspended liquidation of those entries. The Federal Circuit upheld Commerce’s instructions for

CBP to continue suspension of liquidation even though the scope at issue was ambiguous,

holding that “Customs has the authority to suspend liquidation of goods when it determines that

the goods fall within the scope of an ambiguous {AD/CVD} order.” Sunpreme, 946 F.3d at

1321 (emphasis added). Here, in stark contrast, CBP was unable to determine that the wheels in

question were within the scope of the AD/CVD Orders and referred that question to Commerce.

Consequently, Sunpreme does not require Commerce to continue the prior (and retroactive)

suspension of liquidation imposed by CBP. To the contrary, “the broader due-process principle”

of fair warning required Commerce to instruct CBP to terminate its prior suspension of

liquidation and to commence suspension as of March 22, 2021, at the earliest. Unlike here, the

Federal Circuit affirmed Commerce’s decision to continue CBP’s prior suspension of liquidation

in Sunpreme because “retroactivity concerns” were not raised. See Sunpreme, 946 F.3d at 1319.

          In the Final Scope Ruling, Commerce cited Diamond Tools Technology LLC v. United

States, 545 F. Supp. 3d 1324 (Ct. Int’l Trade 2021) as supporting CBP’s separate authority to

suspend liquidation under the EAPA. Final Scope Ruling at 45, Appx2826. That case, however,

is distinguishable. In Diamond Tools, the court upheld CBP’s decision to continue a prior

suspension of liquidation imposed as interim measures under the EAPA, where Commerce had

not imposed any temporal limitation on CBP’s authority to suspend liquidation in its response to

a covered merchandise referral. See 545 F. Supp. 3d at 1348. Whereas Diamond Tools involved

a challenge to CBP’s EAPA authority directly, here Asia Wheel and the Importers contest

Commerce’s unlawful decision to continue a prior (and retroactive) suspension of liquidation in




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violation of “the broader due-process principle” that importers must have fair warning before

their imported merchandise is subject to AD/CVD liability. See Tai-Ao II, 983 F.3d at 495.

          We respectfully ask the Court to issue remand instructions to Commerce to reformulate

its suspension of liquidation instructions and response to CBP’s covered merchandise referral

such that entries of the wheels at issue prior to the date of initiation of the scope inquiry are not

considered “covered merchandise” – subject to the AD/CVD Orders – until March 22, 2021, the

date on which the Importers received adequate notice.

                                   CONCLUSION AND RELIEF SOUGHT

          For the reasons discussed above, Plaintiff Asia Wheel, Consolidated Plaintiffs

TRAILSTAR and Lionshead, and Plaintiff-Intervenor TexTrail respectfully request that the

Court:

          1)         Enter judgment in favor of Plaintiff, Consolidated Plaintiffs, and Plaintiff-

                     Intervenor;

          2)         Hold that Commerce’s Final Scope Ruling is unsupported by substantial evidence

                     and otherwise not in accordance with law;

          3)         Remand this matter to Commerce to issue a revised final determination in

                     conformity with the Court’s opinion; and

          4)         Grant Plaintiff, Consolidated Plaintiffs, and Plaintiff-Intervenor such additional

                     relief as the Court may deem just and proper.

                                                      Respectfully submitted,

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Date: November 20, 2023




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                             CERTIFICATE OF COMPLIANCE

          Pursuant to Chambers Procedure 2(B)(1), the undersigned certifies that this brief

complies with the word limitation requirement. The word count for the Memorandum of Points

and Authorities in Support of the Motion for Judgment on the Agency Record filed by Asia

Wheel Co., Ltd.; TexTrail, Inc.; TRAILSTAR LLC; and Lionshead Specialty Tire and Wheel

LLC, as computed by White & Case LLP’s word processing system (Microsoft Word 2016) and

manual count, is 13,793 words (including 20 words from the images on pages 5 and 12).




                                                   /s/ Jay C. Campbell
                                                   Jay C. Campbell




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               UNITED STATES COURT OF INTERNATIONAL TRADE
          BEFORE THE HONORABLE STEPHEN ALEXANDER VADEN, JUDGE


ASIA WHEEL CO., LTD.,
                           Plaintiff,
                     and
TRAILSTAR LLC, LIONSHEAD
SPECIALTY TIRE AND WHEEL LLC,
                           Consolidated Plaintiffs,
                     and
                                                       Consol. Court No. 23-00096
TEXTRAIL, INC.,
                           Plaintiff-Intervenor,
                     v.
UNITED STATES,
                           Defendant,
                     and
DEXSTAR WHEEL DIVISION OF
AMERICANA DEVELOPMENT, INC.,
           Defendant-Intervenor.

                                                   ORDER
          Upon consideration of Plaintiff’s, Consolidated Plaintiffs’, and Plaintiff-Intervenor’s

motion for judgment upon the agency record pursuant to Rule 56.2 of the Rules of this Court, the

Court, having reviewed the papers and pleadings on file herein, and after due deliberation, it is

hereby:

          ORDERED that Plaintiff’s, Consolidated Plaintiffs’, and Plaintiff-Intervenor’s motion is

granted; and it is further




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          ORDERED that this matter is remanded to the United States Department of Commerce

for disposition consistent with the Court’s final opinion.

          SO ORDERED.

Dated: ___________________, 2023                                ________________________
       New York, New York                                       Stephen Alexander Vaden, Judge




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